           Case 19-01327-hb           Doc 23        Filed 04/01/19 Entered 04/01/19 05:15:27           Desc Main
                                                    Document      Page 1 of 3




                             UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF SOUTH CAROLINA

In re            Travinia Italian Kitchen at Leesburg, LLC   ,   Case No.           19-01327-HB

                      CHAPTER 7 MONTHLY OPERATING REPORT
                          PURSUANT TO 11 U.S.C. § 704(A)(8)

Month Ending: March, 2019                                        Date Case Filed:             3/6/19

Trustee:         John K. Fort

1. Date of Order(s) to Operate                                   Duration
   March 29, 2019                                                90 days from date of Order




2. Current Bond Amount:                $3,000,000.00
3. Nature and reason for operation:
    To sell restaurant as an ongoing business.



4. Current efforts to market estate property subject to operation (if applicable):
    Notice and Application for Sale of Property Free and Clear of Liens, filed March 7, 2019.




5. Estimated length of operation:
    90 days
6. Do revenues exceed expenses during the reporting period (including projected Chapter 7
   administrative expenses)?                 YES                        NO           ✔

   If no, provide explanation as to why business/property is being operated:
    Operating under a Management Agreement filed with the Motion for Authorization to
    Operate a Business on March 6, 2019.


                                                                                                        Rev. 2016-01
                                                                                                          PAGE 1
          Case 19-01327-hb          Doc 23        Filed 04/01/19 Entered 04/01/19 05:15:27              Desc Main
                                                  Document      Page 2 of 3




7.    Other significant activities affecting operation:
     None


8.    Is insurance adequate, current and sufficient to cover the loss of all assets?

             YES                        NO                  N/A           ✔


                                                      Amount of           Policy Expiration Amount and Date of Last
     Type of Coverage       Carrier/Agent             Coverage                  Date              Premium




9.    Are state or county permits necessary?

             YES                        NO        ✔


      If yes, are they current?
             YES                        NO

10. Summary of Current Financial Conditions: (attach more sheets if needed)

                                                  Beginning Book            Ending Book
     Type of Account          Depository             Balance                  Balance         Ending Bank Balance
            N/A




                                         Total:           0.00                  0.00                 0.00

11. Summary of cash receipts by source: (attach more sheets if needed)

                        Source of Receipts                                    Amount
                                  N/A



                                                                 Total:        0.00
                                                                                                            Rev. 2016-01
                                                                                                              PAGE 2
        Case 19-01327-hb           Doc 23     Filed 04/01/19 Entered 04/01/19 05:15:27                Desc Main
                                              Document      Page 3 of 3




12. Specific Disbursements Relating to Current Period Operation: (attach check register if needed)


     Date         Check Number                 Payee                        Purpose                   Amount
                                                N/A




                                                                                         Total:         0.00


13. Are tax obligations current?

        YES        ✔       NO

    If no, provide explanation as to which tax obligations are not current and why.




14. Did the estate employ any W2 employees during the reporting period?

        YES                NO          ✔



    If yes, state the number of employees and specify whether the estate is current on payroll obligations. If the
    estate is NOT current on payroll obligations, provide an explanation.




15. Are there additional attachments in support of the report?

        YES                NO         ✔



 I, John K. Fort                                                      , declare under penalty of
perjury that I have fully read and understand the foregoing Chapter 7 Monthly Operating Report
and that the information contained here is true and complete to the best of my knowledge.

               Dated:                      4/1/19                                                         Rev. 2016-01
                                                                                                            PAGE 3
